     Case 1:19-cv-02482-PGG-SDA Document 136 Filed 11/09/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                            11/09/2020
 Israel Efrain Rendon, et al.,

                                  Plaintiffs,
                                                               1:19-cv-02482 (PGG) (SDA)
                      -against-
                                                               ORDER
 Continental Hosts, Ltd., et al.,

                                  Defendants,


 Continental Hosts, Ltd.,

                                  Third-Party
                                  Plaintiff,

                      -against-

 Homestyle Hospitality LLC, et al.,

                                  Third-Party
                                  Defendants.


STEWART D. AARON, United States Magistrate Judge:

       Following a telephonic conference in the above-captioned matter held today to address

the parties’ discovery disputes, and for the reasons stated on the record, it is hereby ORDERED,

as follows:

       1. Plaintiffs’ interrogatories (ECF No. 134-1) were served after the agreed-upon, Court-

              ordered deadline for service of interrogatories. Moreover, many of the

              interrogatories are outside the scope of the interrogatories permitted by Local Civil

              Rule 33.3. Because Plaintiffs have received (or will receive) the information to which

              they are entitled under Local Civil Rule 33.3 from Defendants’ initial disclosures,
    Case 1:19-cv-02482-PGG-SDA Document 136 Filed 11/09/20 Page 2 of 2




         pursuant to Federal Rule of Civil Procedure 26(a), Defendants shall not respond to

         Plaintiffs’ interrogatories.

     2. Each of the parties that has not yet served it or their initial disclosures shall do so no

         later than November 16, 2020. Any party whose initial disclosures are deficient shall

         supplement them no later than November 16, 2020.

     3. No later than December 9, 2020, counsel for Continental Hosts, Ltd. shall make

         available for inspection by Plaintiffs’ counsel the boxes of documents identified during

         today’s call within the limitations discussed during the call.

     4. The Homestyle Defendants shall respond or object to Plaintiffs’ document requests

         no later than November 23, 2020. The Homestyle Defendants shall commence

         document production promptly thereafter on a rolling basis.

     5. Plaintiffs shall meet and confer with Defendants Duga and Dornfeld regarding

         document production.

     6. Plaintiffs shall produce their witnesses for depositions within 60 days, which

         depositions shall be held remotely.

     The Clerk of Court is respectfully requested to terminate the gavel at ECF No. 130.

SO ORDERED.

DATED:        New York, New York
              November 9, 2020

                                                   ______________________________
                                                   STEWART D. AARON
                                                   United States Magistrate Judge




                                               2
